IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
CIVIL ACTION NO. 5:19-CV-00319

ANTHONTY THOMPSON,

Plaintiff

BALFOUR BEATTY
INFRASTRUCTURE, INC.,
BALFOUR BEATTY
CONSTRUCTION LLC, BALFOUR
BEATTY EQUIPMENT, LLC,
BALFOUR ENTERPRISES, INC,
BRANDSAFWAY SERVICES LLC,
SAFWAY GROUP HOLDINGS LLC,
BRANDSAFWAY LLC,
BRANDSAFWAY INDUSTRIES
LLC, BRANDSAFWAY SOLUTIONS
LLC, SAFWAY LLC,
THYSSENKRUPP SAFWAY, INC.,
and SAFWAY TRANSFER AND
STORAGE, INC.

Defendants.

 

 

AFFIDAVIT OF PROOF OF
SERVICE BY CERTIFIED MAIL

 

The undersigned, William H. Harkins, Jr., counsel of record for Plaintiff certifies that service

of process pursuant to Rule 4(j) of the North Carolina Rules of Civil Procedure, was completed by

mailing a copy of the Amended Complaint, and Civil Summons in this action to Defendant

Thyssenkrupp Safway, Inc., via Certified Mail, Return Receipt Requested to:

Thyssenkrupp Safway, Inc.
c/o Secretary of State
Elaine Marshall, Registered Agent
2 §. Salisbury St.
Raleigh, NC 27601

1

Case 5:19-cv-00319-BO Document 24 Filed 08/23/19 Page 1 of 8
Service of Process of the Amended Complaint with Civi! Summons on June 28, 2019, as

evidenced by the attached return receipt.

This the 23" day of August, 2019.

“ih S & ASSOCIATES

William H. Harkins Jr.
State Bar No. 37899

119 Lucknow Square
Dunn, NC 28334
Telephone: (910) 892-8177
Facsimile: (910) 892-0652
Attorney for Plaintiff

 

NORTH CAROLINA
COUNTY OF WAKE

Subscribed to and sworn before me this 23% day
of August, 2019.

SC UL

ae PUBLIC \
My rARY ission Expires: 04/02/2022

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Case 5:19-cv-00319-BO Document 24 Filed 08/23/19 Page 2 of 8
CERTIFICATE OF SERVICE
I hereby certify that on August 23, 2019 IJ electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system which will send notification of filing to the
following:
Young Moore & Henderson
Brian O. Beverly
PO Box 31627

Raleigh, NC 27622
Attorney for Defendants

This the 23" day of August, 2019.

 

BRE it & ASSOCIATES
William H. Harkins Jr.

State Bar No. 37899

119 Lucknow Square
Dunn, NC 28334
Telephone: (910) 892-8177
Facsimile: (910) 892-0652
Attorney for Plaintiff

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Case 5:19-cv-00319-BO Document 24 Filed 08/23/19 Page 3 of 8
 
 

SENDER: COMPLETE THIS SECTION

m Complete items 4, 2, and 3.
@ Print your name and address on the reverse
so that we can return the card to you.

B Attach this card to the back of the mailpiece,
or on the front if space permits.
1, Article Addressed to:

Thyssenkrupp Safway, Inc.

c/o Secretary of State

Elaine Marshall, Registered Agent
2 South Salisbury Street

Raleigh, NC 27601

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9590 9402 4985 9063 7224 07

 

     
 
   
 
   

  

COMPLETE THIS SECTION ON DELIVERY

 
 
  

A. Signature

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B. Received by (Prnied

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. PS Form 3811, July 2015 PSN 7530-02-000-9053

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Domestic Return Receipt

Case 5:19-cv-00319-BO Document 24 Filed 08/23/19 Page 4 of 8
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
CIVIL ACTION NO. 5:19-CV-00319

ANTHONTY THOMPSON, |

Plaintiff

BALFOUR BEATTY
INFRASTRUCTURE, INC.,
BALFOUR BEATTY
CONSTRUCTION LLC, BALFOUR
BEATTY EQUIPMENT, LLC, AFFIDAVIT OF PROOF OF
BALFOUR ENTERPRISES, INC, SERVICE BY CERTIFIED MAIL
BRANDSAFWAY SERVICES LLC,
SAFWAY GROUP HOLDINGS LLC,
BRANDSAFWAY LLC,
BRANDSAFWAY INDUSTRIES
LLC, BRANDSAFWAY SOLUTIONS
LLC, SAFWAY LLC,
THYSSENKRUPP SAFWAY, INC.,
and SAFWAY TRANSFER AND
STORAGE, INC.

Defendants.

 

 

 

The undersigned, William H. Harkins, Jr., counsel of record for Plaintiff certifies that service
of process pursuant to Rule 4(j) of the North Carolina Rules of Civil Procedure, was completed by
mailing a copy of the Amended Complaint, and Civil Summons in this action to Defendant
Thyssenkrupp Safway, Inc., via Certified Mail, Return Receipt Requested to:

Thyssenkrupp Safway, Inc.

PO Box 1991
Milwakee, WI 53201

1

Case 5:19-cv-00319-BO Document 24 Filed 08/23/19 Page 5 of 8
Service of Process of the Amended Complaint with Civil Summons on July 29, 2019, as

evidenced by the attached return receipt.

This the 23 day of August, 2019.

NORTH CAROLINA
COUNTY OF WAKE

  
 

BRE MS & ASSOCIATES

William H. Harkins Jr.
State Bar No. 37899
119 Lucknow Square
Dunn, NC 28334
Telephone: (910) 892-8177
Facsimile: (910) 892-0652
Attorney for Plaintiff

Subscribed to and sworn before me this 23 day

of August, 2019.

eh gene

“INELLIS DEL ROSARIO

Notary Public
Wake County, North Caroling
My Commission Expires
April 2, 2022

 

 

NOTWRY PUBLIC

My Commission Expires: 04/02/2022

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Case 5:19-cv-00319-BO Document 24 Filed 08/23/19 Page 6 of 8
CERTIFICATE OF SERVICE
I hereby certify that on August 23, 2019 I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system which will send notification of filing to the
following:
Young Moore & Henderson
Brian O. Beverly
PO Box 31627

Raleigh, NC 27622
Attorney for Defendants

This the 23" day of August, 2019.

BRE 5S & ASSOCIATES

 

William H. Harkins Jr.
State Bar No. 37899

119 Lucknow Square
Dunn, NC 28334
Telephone: (910) 892-8177
Facsimile: (910) 892-0652
Attorney for Plaintiff

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Case 5:19-cv-00319-BO Document 24 Filed 08/23/19 Page 7 of 8
 

   

SENDER: COMPLETE THIS SECTION

@ Complete itéms 1, 2, and 3.

@ Print your name and address on the reverse
So that we can return the card to you.

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or on the front if space permits. SC |

1. Article Addrassed to:
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Milwaukee, WI 53201
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: PS Form 3811, July 2015 PSN 7530-02-000-9053 Domestic Return Receipt

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Case 5:19-cv-00319-BO Document 24 Filed 08/23/19 Page 8 of 8
